Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                     Page 1 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                     Page 2 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                     Page 3 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                     Page 4 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                     Page 5 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                     Page 6 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                     Page 7 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                     Page 8 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                     Page 9 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 10 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 11 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 12 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 13 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 14 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 15 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 16 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 17 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 18 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 19 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 20 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 21 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 22 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 23 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 24 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 25 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 26 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 27 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 28 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 29 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 30 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 31 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 32 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 33 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 34 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 35 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 36 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 37 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 38 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 39 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 40 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 41 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 42 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 43 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 44 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 45 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 46 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 47 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 48 of 49
Case 12-31445-MS   Doc 1   Filed 08/27/12 Entered 08/30/12 11:11:49   Desc Petition
                                    Page 49 of 49
